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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 ERASMO FLORES,                                    §
                                                   §
      Plaintiff,                                   §
                                                   §
 v.                                                §         Civil Action No. 4:23-cv-00673-O
                                                   §
 PHH MORTGAGE CORPORATION,                         §
                                                   §
                                                   §
                                                   §
      Defendant.                                   §

                                        FINAL JUDGMENT

         Having determined that dismissal is appropriate in this case, the Court now enters this Final

Judgment pursuant to Federal Rule of Civil Procedure 58(a). Therefore,

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

      1. All claims asserted by Plaintiff against Defendants in this matter are DISMISSED with

         prejudice to the refiling of the same.

      2. The fees and costs incurred in this matter shall be borne by the party incurring the same.

      3. Any other relief not expressly provided for herein is hereby DENIED.

         SO ORDERED on this 12th day of August, 2024.


                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE
